     Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 1 of 19




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

AMERICAN CENTER FOR LAW AND       )
JUSTICE,                          )
                                  )
          Plaintiff,              )
                                  )
vs.                               )    Case Action No. 21-cv-932-CKK
                                  )
FEDERAL BUREAU OF INVESTIGATIONS, )
                                  )
          Defendant.              )


 PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  ITS CROSS MOTION FOR SUMMARY JUDGMENT, AND IN OPPOSITION TO
       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT [DKT. # 18]
           Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 2 of 19




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION ........................................................................................................................... 1
LEGAL STANDARD ..................................................................................................................... 1
ARGUMENT .................................................................................................................................. 3
   I.     The FOIA and the FBI’s Mistaken Expansion of Exemptions (b)(1) and (b)(3). ................ 5
   II. FOIA Privacy Interests and the FBI’s Mistaken Reliance on (b)(6) and (b)(7)(c)............... 8
   III.      The FOIA and the FBI’s Mistaken Reliance on (b)(7)(E) .............................................. 13
CONCLUSION ............................................................................................................................. 14




                                                                      i
           Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 3 of 19




                                               TABLE OF AUTHORITIES
CASES
                                                                                                                               Page(s)

ACLJ. v. NSA,
 474 F. Supp. 3d 109 (D.D.C. 2020) ......................................................................................... 5-6

ACLU v. U.S. Dep’t of Def.,
  339 F. Supp. 2d 501 (S.D.N.Y. 2004) ....................................................................................... 3

ACLU v. U.S. Dep’t of Def.,
  628 F.3d 612, 619 (D.C. Cir. 2011) ....................................................................................... passim

Brayton v. Office of the U.S. Trade Rep.,
  641 F.3d 521, 527 (D.C. Cir. 2011) ............................................................................................... 1

Darui v. U.S. Dep’t of State,
  798 F. Supp. 2d 32 (D.D.C. 2011) ............................................................................................. 5

DOJ v. Julian,
 486 U.S. 1 (1988) ...................................................................................................................... 2

Fitzgibbon v. CIA,
  911 F.2d 755 (D.C. Cir. 1990) ................................................................................................... 6

Gardels v. CIA,
  689 F.2d 1100 (D.C. Cir. 1982) ................................................................................................. 2

Graff v. FBI,
  822 F. Supp. 2d 23 (D.D.C. 2011) ............................................................................................. 9

Judicial Watch, Inc. v. DOJ,
  20 F. Supp. 3d 260 (D.D.C. 2014) ......................................................................................... 1, 2

Judicial Watch, Inc. v. U.S. Secret Serv.,
   726 F.3d 208 (D.C. Cir. 2013) .................................................................................................. 2

Judicial Watch, Inc. v. United States Dep't of Homeland Sec.,
   514 F. Supp. 2d 7 (D.D.C. 2007) .............................................................................................. 9

Kele v. DOJ,
  No. 87-0534 TFH/PJA, 1987 U.S. Dist. LEXIS 16961, at *11 (D.D.C. Dec. 7, 1987) ............. 9

Kimberlin v. DOJ,
  139 F.3d 944 (D.C. Cir. 1998) ........................................................................................... 10, 11




                                                                    ii
           Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 4 of 19




Lesar v. DOJ,
  636 F.2d 472 (D.C. Cir. 1980) ............................................................................................... 3, 8

Minier v. CIA,
  88 F.3d 796 (9th Cir. 1996) ......................................................................................... 3, 7, 8, 12

Nation Magazine, Washington Bureau v. U.S. Customs Serv.,
  71 F.3d 885, 890 (D.C. Cir. 1995) ............................................................................................. 4

Oglesby v. U.S. Dep't of the Army,
  920 F.2d 57 (D.C. Cir. 1990) ..................................................................................................... 1

PETA v. Nat’l Institutes of Health, Dep't of Health & Human Servs.,
  745 F.3d 535 (D.C. Cir. 2014) ................................................................................................... 4

Phillippi v. CIA,
  655 F.2d 1325 (D.C. Cir. 1981) ................................................................................................. 2

Schaerr v. DOJ,
  2020 U.S. Dist. LEXIS 13772 (D.D.C. Jan. 28, 2020) ..................................................... passim

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  559 F. Supp. 1053 (D.D.C.)........................................................................................................ 9

Wolf v. CIA,
 473 F.3d 370 (D.C. Cir. 2007) ................................................................................................... 2

FEDERAL STATUTES

5 U.S.C. § 552 ..................................................................................................................... 8, 9, 10

OTHER AUTHORITIES

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                                                                       iii
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 5 of 19




                                         INTRODUCTION

       In introducing the predecessor of the bill that was enacted as the federal Freedom of

Information Act (“FOIA”), its sponsor, Senator Edward Long, clearly identified the principle

necessitating such a law: “Knowledge will forever govern ignorance, and a people who mean to

be their own governors must arm themselves with the power knowledge gives. A popular

government without popular information or the means of acquiring it is but a prolog to a farce or

a tragedy or perhaps both.” 111 Cong. Rec. 26821 (1965) (quoting James Madison). The

Defendant Federal Bureau of Investigations (FBI) has failed to meet its obligations under FOIA to

produce all responsive material to the Plaintiff, American Center for Law and Justice (ACLJ). The

FBI unreasonably interpreted the ACLJ’s FOIA requests and has failed to meet its obligations

under FOIA to prove that the FOIA Exemptions it asserted in support of its Glomar response apply

to all the records sought by the ACLJ.


                                      LEGAL STANDARD

       Many FOIA cases are resolved on summary judgment. Judicial Watch, Inc. v. DOJ, 20 F.

Supp. 3d 260, 267 (D.D.C. 2014) (hereinafter “Judicial Watch I”) (quoting Brayton v. Office of

the U.S. Trade Rep., 641 F.3d 521, 527 (D.C. Cir. 2011)). At the summary judgment stage, the

agency has the burden of showing that it has fully complied with the FOIA. In response to a

challenge to the adequacy of its search for requested records, the agency must provide “a

reasonably detailed affidavit, setting forth the search terms and the type of search performed, and

averring that all files likely to contain responsive materials . . . were searched.” Oglesby v. U.S.

Dep't of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990).

       Further, “[w]hen an agency’s response to a FOIA request is to withhold responsive records,

either in whole or in part, the agency ‘bears the burden of proving the applicability of claimed



                                                 1
        Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 6 of 19




exemptions.’” Judicial Watch I, 20 F. Supp. 3d 267 (quoting ACLU v. U.S. Dep’t of Def., 628 F.3d

612, 619 (D.C. Cir. 2011)). The government may sustain its burden through the submission of

declarations detailing, with specificity, the reason that a FOIA exemption applies, along with an

index, as necessary, describing the materials withheld. Id. (citations omitted). See also Judicial

Watch, Inc. v. U.S. Secret Serv., 726 F.3d 208, 215 (D.C. Cir. 2013) (A grant of summary judgment

based on agency affidavits is appropriate only “if they contain reasonable specificity of detail

rather than merely conclusory statements, and if they are not called into question by contradictory

evidence in the record or by evidence of agency bad faith.”) (Internal citations and quotations

omitted). In resolving a summary judgment motion in a FOIA case, however, a court must interpret

the statute broadly in favor of public disclosure and construe any exemptions narrowly. DOJ v.

Julian, 486 U.S. 1, 8 (1988).

       Under FOIA and in some circumstances, “an agency may refuse to confirm or deny the

existence of records where to answer the FOIA inquiry would cause harm cognizable under a

FOIA exception.” Gardels v. CIA, 689 F.2d 1100, 1103 (D.C. Cir. 1982). This is known as a

“Glomar response” (a term that comes from the case Phillippi v. CIA, 655 F.2d 1325, 1327 (D.C.

Cir. 1981)), and is proper if the existence of an agency record is itself exempt from disclosure.

Wolf v. CIA, 473 F.3d 370, 374 (D.C. Cir. 2007). “To justify a Glomar response, the agency must

supply the court with a detailed affidavit that explains why it cannot provide a substantive response

pursuant to a FOIA exemption.” Schaerr v. DOJ, 2020 U.S. Dist. LEXIS 13772, at 14 (D.D.C.

Jan. 28, 2020).

       A FOIA requestor may compel disclosure of information, and overcome a Glomar

response, however, where either an official acknowledgment as to the existence of the documents

has been made, or by a sufficient showing that the agency did not evaluate the request in good




                                                 2
        Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 7 of 19




faith. Minier v. CIA, 88 F.3d 796, 803 (9th Cir. 1996); Schaerr v. DOJ, 2020 U.S. Dist. LEXIS

13772, at 17; ACLU, 628 F.3d at 620.

       When there are documents, “the existence of which the government contends it may be

unable to confirm or deny, procedures can be established to identify such documents in camera or

to a special master with proper clearance.” ACLU v. U.S. Dep’t of Def., 339 F. Supp. 2d 501, 540

(S.D.N.Y. 2004).

       “The standard that the district court must apply in making its de novo review of the agency's

classification decision, then, is whether unauthorized disclosure of the materials reasonably could

be expected to cause the requisite harm.” Lesar v. DOJ, 636 F.2d 472, 481 (D.C. Cir. 1980). “The

agency may satisfy this standard by submitting affidavits to the court that describe with reasonable

specificity the nature of the documents at issue and the justification for nondisclosure; the

description provided in the affidavits must show that the information logically falls within the

claimed exemption.” Id.

                                          ARGUMENT

       The ACLJ takes no issue with the caselaw and legal principles outlined by the FBI in its

Motion and Memorandum. The problem here for the FBI is that it asks the Court and Plaintiff to

assume and take the FBI’s word for it that the entirety of Plaintiff’s FOIA requests automatically

trigger the Glomar jurisprudential analysis. But it does not. In jumping straight into the Glomar

analysis, the FBI glazes over the critical threshold issue of whether all responsive records even

merit the special protections afforded by the Glomar in the first place.

       This flaw is illustrated nicely by the carefully devised declaration that: “The FBI ‘has not

made any official public disclosures confirming or denying whether or not it has collected

intelligence information concerning or otherwise investigated the activities of the third party




                                                 3
        Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 8 of 19




subjects of Plaintiff’s request, or whether or not it has disseminated such information.’” Def. MSJ,

23/29 (quoting Seidel Decl. ¶ 15).

        Another clue to the FBI’s approach is found here: “As an initial matter, the FBI acted

reasonably in interpreting the request as one for investigative records relating to the allegations of

an intelligence operation involving Christine Fang and Eric Swalwell.” Def. MSJ, Dkt # 18-1, 13

(citing Seidel Decl. ¶ 5). Though it appears small, and easy to gloss over, this is a critical key. Like

Jenga, the FBI’s whole argument in support of its Motion crumbles if this foundational assumption

is extracted. This misinterpretation also violates a clear principle of the FOIA that “[a]gencies have

‘a duty to construe a FOIA request liberally,’” PETA v. Nat’l Institutes of Health, Dep't of Health

& Human Servs., 745 F.3d 535, 540 (D.C. Cir. 2014) (quoting Nation Magazine, Washington

Bureau v. U.S. Customs Serv., 71 F.3d 885, 890 (D.C. Cir. 1995)), and not in a manner that results

in as little disclosure as possible – or as here, zero disclosure.

        Plaintiff’s FOIA requests clearly sought records outside of that carefully devised

interpretational statement. It is difficult to imagine that there are not communications among FBI

officials about the subject of the news stories that are not the collection of intelligence information

or an investigation. This is especially so since the ODNI, NSA, and the State Department have

admitted such records exist in a substantively identical FOIA request. See ACLJ v. ODNI, NSA,

and State Dept., 21-cv-333 (D.D.C.).

        The FBI has not argued, nor could it, and has given no legal authority for the concept, that

every record that pertains to, or where the word “Swalwell” or “Fang Fang” are included, is

automatically “intelligence information” of the type for which the special Glomar response is




                                                   4
        Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 9 of 19




reserved. The FBI’s position here is so expansive it stretches the critical Glomar response tool so

far that it actually devalues it. If everything is Glomar, then nothing is.1

I.     THE FOIA AND THE FBI’S MISTAKEN EXPANSION OF EXEMPTIONS (B)(1)
       AND (B)(3).

       As to the assertions of Exemptions 1 and 3, the FBI’s simplistic statement lacks sufficient

specificity to demonstrate that disclosing the existence or nonexistence of any records “reasonably

could be expected to cause the requisite harm.” The FBI’s general, conclusory, and unsupported

assertion of national security interests to all responsive records lacks the “logical fit” with national

security concerns necessary to justify application of Exemption 1 and 3.

       The FBI could cure this deficiency with a sufficiently specific affidavit providing a

meaningful application of the broad assertions to the specific requests and specific types of records

implicated in the ACLJ’s Request.

       The lack of a logical fit is evidenced by the undisputed fact that the ODNI, the statutory

head of U.S. Intelligence Community, the NSA, which is also a key member of the Intelligence

Community, and the State Department, which also has a bureau which is part of the Intelligence

Community, all did not issue a Glomar response in response to substantively the same FOIA

requests. ACLJ’s SOF #13; see also ACLJ’s SOF # 9-12. The ODNI declination to assert a Glomar

response across the board is especially weighty given the weight afforded to its determinations as

head of the Intelligence Community. See ACLJ. v. NSA, 474 F. Supp. 3d 109, 123 n.10 (D.D.C.




       1
         Even the caselaw relied upon by the FBI illustrates this flaw, as these cases deal with
Glomar being applied to specific documents, and not in a super-broad, wholesale, untestable
conclusory assertion like FBI did in this case. See, e.g., Darui v. U.S. Dep’t of State, 798 F. Supp.
2d 32, 43 (D.D.C. 2011) (holding that there had not been public acknowledgement of the contents
of two documents that had been filed under seal in a criminal case); ACLU v. U.S. Dep’t of Def.,
628 F.3d 612, 621 (D.C. Cir. 2011) (addressing according to the agency “the substantial weight it
is due regarding the details of the classified status of the disputed record” – a singular record).

                                                   5
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 10 of 19




2020) (finding that the ODNI was, for FOIA purposes, a “‘parent’. . . across all subordinate

intelligence units,” including the State Department's Bureau of Intelligence and Research);

Fitzgibbon v. CIA, 911 F.2d 755, 765 (D.C. Cir. 1990) (“[I]n the arena of intelligence and foreign

relations,” a statement made by “one in a position to know” is given unique meaning and

weight.”).2

       The FBI is fully capable of redacting, or even withholding in full, records identifying

classified information and the like – just as it has done in other FOIA cases involving ACLJ

requests – and just as the ODNI, NSA, and State Department are in the process of doing in their

individualized assessments of responsive records in the ACLJ v. NSA, 21-cv-333 (D.D.C.) matter.

Emails between FBI officials about the topic of a heavily reported news story are not automatically

and wholesale classified or protected from disclosure by the National Security Act and hence FOIA

Exemption 3. The FBI does not even overtly contend that they are. Instead, the FBI glosses over

its underlying assumption that they are by its self-serving declaration that “the FBI acted

reasonably in interpreting the request as one for investigative records relating to the allegations of

an intelligence operation involving Christine Fang and Eric Swalwell.” Def. MSJ, Dkt # 18-1, 13

(citing Seidel Decl. ¶ 5). This sweeping and illogical declaration grossly overgeneralizes the scope

of the ACLJ’s FOIA requests and should be rejected. If the FBI’s position is allowed to stand,

then every time an FBI official emails about the subject of any news story involving an

investigation, then even the existence or nonexistence of that email may barred from the public



2
  To be clear, the ACLJ does not contend here that the FBI lacks the authority to make the
relevant determination. Instead, the ACLJ contends that when testing agency affidavits in the
national security or intelligence realms, which are essentially impossible for FOIA requestors to
overcome, the fact that the ODNI (and the NSA and State Department) did not determine that the
extreme remedy of a Glomar response was needed to protect classified information, comply with
the National Security Act, or protect intelligence information or national security information (or
privacy interests), should weigh heavily in this Court’s balancing of the interests.

                                                  6
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 11 of 19




under Glomar. That is an exception swallowing the rule, and flies in the face of the policy of FOIA

favoring disclosure and applying the exemptions as narrowly as possible.

       The ACLJ’s Request #1 requested as follows: “All records, communications or briefings

created, generated, forwarded, transmitted, sent, shared, saved, received, or reviewed by James

Comey, Andrew McCabe, Christopher Wray, Robert Mueller, or any Deputy Director of the FBI,

including by utilizing any alias, referencing, connected to, or regarding in any way Christine Fang

(or Fang Fang, or Fang) or Rep. Eric Swalwell.” ACLJ SOF #18.

       The ACLJ’s Request #2 requested as follows: “All records, communications or briefings

created, generated, forwarded, transmitted, sent, shared, saved, received, or reviewed by any FBI

official, agent or employee, referencing, connected to, or regarding in any way Christine Fang (or

Fang Fang, or Fang) or Rep. Eric Swalwell.” ACLJ SOF #19.

       Importantly, the FBI did not and has not challenged these requests as overbroad, vague, or

unduly burdensome. ACLJ SOF #20.

       Just because the Background section of the ACLJ’s FOIA request describes the Axios piece

as the catalyst for these two FOIA requests, the FOIA requests themselves are not limited to the

reported facts of that story. The ACLJ purposefully worded the FOIA requests to seek records

beyond the scope of the facts reported in the Axios story about Rep. Swalwell and Christine Fang.

That is why the disjunctive “or” was used. ACLJ SOF #21.

       A FOIA requestor may compel disclosure of information, and overcome a Glomar response

by a sufficient showing that the agency did not evaluate the request in good faith. Minier v. CIA,

88 F.3d 796, 803 (9th Cir. 1996); Schaerr v. DOJ, 2020 U.S. Dist. LEXIS 13772, at 17; ACLU,

628 F.3d at 620. It is preposterous to conclude that every single record identified in these requests

merits the extreme Glomar response. The ACLJ could concede, hypothetically, that some




                                                 7
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 12 of 19




requested records might merit a lawfully applied Glomar response. But not all. For example, the

two parts of the Request list the subject matter of Fang Fang or Rep. Swalwell in the disjunctive,

using “or.” It is impossible to accept that there is not an FBI record that references or regards Rep.

Eric Swalwell that does not merit a categorical Glomar response based on Exemption 1 or 3. The

FBI’s response prevents any meaningful analysis of whether, or to what extent, the laws cited

indeed support the Glomar response as to any particular record. Instead, it indicates that the FBI

simply decided that it did not want to search for responsive records that do not merit a Glomar

response. This violates the letter and spirit of the FOIA, and demonstrated the lack of good faith

that defeats a lazy or sloppy Glomar response.

       The FBI must sufficiently show in its affidavit that all the records responsive to the ACLJ’s

requests “logically fall” within the exemption. Lesar v. DOJ, 636 F.2d 472, 481 (D.C. Cir. 1980).

It has not, and cannot, do so. And, its overgeneralized assertion of Glomar, even when records

logically exist that are not classified or subject to the National Security Act, and even when the

head intelligence agency the ODNI, as well as the NSA and the State Department, did not assert

Glomar, show the FBI “did not evaluate the request in good faith.” Minier v. CIA, 88 F.3d 796,

803 (9th Cir. 1996); Schaerr v. DOJ, 2020 U.S. Dist. LEXIS 13772, at 17; ACLU, 628 F.3d at 620.

Further evidence of the FBI’s failure to evaluate the request in good faith is its refusal to timely

decide the ACLJ’s administrative appeal of the broad Glomar response within the time limit

imposed by the Statute. ACLJ SOF #2; FBI SOF #5.

II.    FOIA PRIVACY INTERESTS AND THE FBI’S MISTAKEN RELIANCE ON
       (B)(6) AND (B)(7)(C)

       To justify its refusal to admit or deny the existence of responsive records, the FBI asserts

that Christine Fang enjoys a privacy interest under 5 U.S.C. § 552(b)(7)(c). FBI SOF #12. Beyond

the shock of the FBI denying U.S. citizens records under FOIA because of a Chinese spy’s


                                                  8
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 13 of 19




purported privacy interests, the cases in this District cited for the proposition that foreign nationals

enjoy the same privacy rights as Americans, see Graff v. FBI, 822 F. Supp. 2d 23, 34 (D.D.C.

2011); Judicial Watch, Inc. v. United States Dep't of Homeland Sec., 514 F. Supp. 2d 7, 9 n.4

(D.D.C. 2007); Kele v. DOJ, No. 87-0534 TFH/PJA, 1987 U.S. Dist. LEXIS 16961, at *11 (D.D.C.

Dec. 7, 1987); all cite back to a 1983 case that applied the (b)(6) “personnel and medical files and

similar files” exemption. Shaw v. U.S. Dep’t of State, 559 F. Supp. 1053, 1067 (D.D.C.). That is

not a generalized privacy section and it is substantively different in scope than the (7)(c) privacy

exemption. It pertains only to personnel and medical files, and similar files. The overgeneralized

assertion that foreign nationals enjoy the same privacy interests as Americans is not dispositive

and the cases cited overlook the distinguishing nuance.

        Regardless, the FBI does not assert a statement of fact supporting the FBI’s assertion of

(b)(6) privacy interests. See FBI SOF #12. Instead, it merely argues in its brief in conclusory

fashion that (b)(6) privacy applies. But it is undisputable that (b)(6) only applies, on its face, to

“personnel and medical files and similar files” when the disclosure of such information “would

constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). Plaintiff does

not seek production of records of personnel and medical files and similar files of Rep. Swalwell

or Christine Fang. ACLJ SOF #16.

        Further, as to the FBI’s reliance on (7)(c), Plaintiff does not seek production of records

compiled for law enforcement purposes identifying Rep. Swalwell or Christine Fang. ACLJ SOF

#17.

        To the extent the FBI’s privacy based exemption claims are legitimate, the public interest

favoring release here is strong. Christine Fang is a Chinese National and has been identified as a

“Chinese intelligence operative.” Pl.’s SOF, #13. Rep. Eric Swalwell is a member of the House’s




                                                   9
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 14 of 19




Permanent Select Committee on Intelligence. ACLJ’s SOF, #14. There is an obvious public

interest in FBI records about a Chinese national intelligence operative engaged in spying and

maintaining a relationship with a U.S. Representative who sits on the House’s Intelligence

Committee. ACLJ’s SOF, #15. But, again, the ACLJ requested records outside of the confines of

the (b)(6) personnel and medical files and (b)(7) law enforcement files exemptions.

        Rep. Swalwell himself has publicly admitted the underlying facts of the story: “What it

appears though that this person — as the story reports — was unsuccessful in whatever they were

trying to do,” Swalwell told Politico.3 “As the story referenced, this goes back to the beginning of

the last decade, and it’s something that congressional leadership knew about it,” Swalwell said. Id.

Swalwell issued a statement to Axios, the media entity that broke the story: “A statement from

Swalwell's office provided to Axios said: ‘Rep. Swalwell, long ago, provided information about

this person — whom he met more than eight years ago, and whom he hasn’t seen in nearly six

years — to the FBI. To protect information that might be classified, he will not participate in your

story.’”4

        As such, while Rep. Swalwell may have a degree of privacy interest relevant here, it is

diminished in at least two regards: (1) he is a government official, Kimberlin v. DOJ, 139 F.3d

944, 949 (D.C. Cir. 1998) (“And although government officials, as we have stated before, may

have a ‘somewhat diminished’ privacy interest, they ‘do not surrender all rights to personal privacy

when they accept a public appointment.’”) (citation and internal quotations omitted); and, (2) he

admitted the underlying facts to the press. Id. (government official’s “statement to the press



3
  John Breshnahan, Rep. Swalwell Says Trump Criticism Behind Spy Story, Politico (Aug. 12,
2020), https://www.politico.com/news/2020/12/08/swalwell-trump-criticism-spy-story-443845.
4
  Bethany Allen & Zach Dorfman, Exclusive Suspected Chinese Spy Targeted California
Politicians, Axios (DEC. 8, 2020), https://www.axios.com/china-spy-california-politicians-
9d2dfb99-f839-4e00-8bd8-59dec0daf589.html.

                                                10
        Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 15 of 19




undoubtedly does diminish his interest in privacy: the public already knows who he is, what he

was accused of”). In Kimberlin, after being sued, the agency conceded that the relevant person’s

admission to the press that he was the subject of an investigation merited the withdrawal of its

Glomar response. Id. at 947. The same should apply here. But, at the very least, these facts

diminish the weight of Rep. Swalwell’s privacy interests which, when weighed against the strong

public interests in at least a limited disclosure of records that bear his name

        Again, the ACLJ emphasizes what its requests did and did not seek. The ACLJ’s Request

#1 requested as follows: “All records, communications or briefings created, generated, forwarded,

transmitted, sent, shared, saved, received, or reviewed by James Comey, Andrew McCabe,

Christopher Wray, Robert Mueller, or any Deputy Director of the FBI, including by utilizing any

alias, referencing, connected to, or regarding in any way Christine Fang (or Fang Fang, or Fang)

or Rep. Eric Swalwell.” ACLJ SOF #18. The ACLJ’s Request #2 requested as follows: “All

records, communications or briefings created, generated, forwarded, transmitted, sent, shared,

saved, received, or reviewed by any FBI official, agent or employee, referencing, connected to, or

regarding in any way Christine Fang (or Fang Fang, or Fang) or Rep. Eric Swalwell.” ACLJ SOF

#19.5

        The clear terms of both requests encompass records beyond personnel or medical files, or

records compiled for law enforcement purposes.6 If the FBI’s position and actions in this case




5
  The FBI did not and has not challenged these requests as overbroad, vague, or unduly
burdensome. ACLJ SOF #20.
6
  If the FBI had done as other agencies do (and, in fact, the ODNI, NSA, and State Department
have done in responding to an essentially identical FOIA request from the ACLJ after the ACLJ
filed suit against them, ACLJ SOF #12) and contacted the ACLJ and engaged in good faith
narrowing discussions upon receipt of this FOIA request, or upon evaluation of the ACLJ’s
administrative appeal, this obvious fact could have been addressed without the need for Court
intervention to this degree.

                                                 11
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 16 of 19




prevail, every FBI file is a personnel or medical file, or a law enforcement file – and so much so

that the FBI does not even have to admit whether any record exists. Add on the sweeping (b)(1)

and (b)(3) National Security Act exemptions claimed by the FBI, addressed supra, and the FOIA

basically no longer applies to the FBI. The absurdity is highlighted by the fact, again, that the

ODNI, NSA, and State Department all processed substantively identical FOIA requests from the

ACLJ in the normal course, just as the FOIA contemplates.

       A FOIA requestor may compel disclosure of information, and overcome a Glomar response

by a sufficient showing that the agency did not evaluate the request in good faith. Minier v. CIA,

88 F.3d 796, 803 (9th Cir. 1996); Schaerr v. DOJ, 2020 U.S. Dist. LEXIS 13772, at 17; ACLU,

628 F.3d at 620. It is preposterous to conclude that every single record identified in these requests

merits the extreme Glomar response. The ACLJ could concede, hypothetically, that some

requested records might merit a lawfully applied Glomar response. But not all. For example, the

two parts of the Request list the subject matter of Christine Fang or Rep. Swalwell in the

disjunctive, using “or.” It is impossible to accept that there is not a reasonably searchable and

processible FBI record that references or regards Rep. Eric Swalwell or Christine Fang that does

not merit a categorical Glomar response based on Exemption 6 or 7. The FBI’s response prevents

any meaningful analysis of whether, or to what extent, the laws cited indeed support the Glomar

response as to any particular record. Instead, it indicates that the FBI simply decided that it did not

want to search for responsive records that do not merit a Glomar response. This violates the letter

and spirit of the FOIA. And again, further evidence of the FBI’s failure to evaluate the request in

good faith is its refusal to timely decide the ACLJ’s administrative appeal of the broad Glomar

response within the time limit imposed by the Statute. ACLJ SOF #2; FBI SOF #5.




                                                  12
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 17 of 19




III.   THE FOIA AND THE FBI’S MISTAKEN RELIANCE ON (B)(7)(E)

       The FBI contends that “because the existence or non-existence of the requested law

enforcement records relating to the alleged nonpublic investigation at issue would disclose law

enforcement techniques and procedures, the Glomar response was proper under Exemption 7(E).”

FBI’s MSJ, Dkt. # 18-1, 7]. It asserts that “[t]he Seidel Declaration establishes that confirming or

denying the existence of law enforcement records relating to Christine Fang and Eric Swalwell

would disclose techniques and procedures for law enforcement investigations.” FBI SOF #14

(citing Seidel Decl. ¶¶ 49, 50).

       For reasons already identified above, and which are incorporated by reference here, the

FBI did not evaluate the requests in good faith. This is demonstrated by the fact that records

responsive to the ACLJ’s requests exist that are not records of, and that would not disclose,

techniques and procedures for law enforcement investigations, within the proper meaning of those

terms under the law. ACLJ SOF #22. The requests themselves clearly go beyond that. For

example, an email from former Director Robert Mueller or James Comey to a colleague about the

news coverage of Rep. Swalwell would not encompass the (7)(E) concern. Neither would an email

about Rep. Swalwell that has nothing to do with the Fang investigation. ACLJ SOF #18-19. The

FBI would have the Court accept that every FBI record about or naming a U.S. Representative

who sits on the House Intelligence Committee, or a known Chinese national intelligence operative,

would disclose techniques and procedures for law enforcement to that extent that even the

existence of just one such record is exempt, even if the record had nothing to do with the Fang

investigation. This stretches the Glomar response jurisprudence to the point on unrecognizability

and thwarts the letter and spirit of the FOIA.




                                                 13
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 18 of 19




       Like Humpty Dumpty, 7 the FBI attempted to “interpret” the ACLJ’s FOIA requests into

a box the FBI felt it could label with “Glomar.” See Seidel Decl. ¶ 5; Def. MSJ, Dkt # 18-1, 13

(“As an initial matter, the FBI acted reasonably in interpreting the request as one for investigative

records relating to the allegations of an intelligence operation involving Christine Fang and Eric

Swalwell.”). But in its attempt, it fundamentally and unlawfully altered the ACLJ’s requests and

violated the FOIA.

                                         CONCLUSION

       In sum, the records the ACLJ seeks are broader than the FBI’s unreasonable interpretation

of the ACLJ’s requests. The FBI’s evaluation of the ACLJ’s requests lack good faith. The weight

the FBI purports to give to the privacy interests of a Chinese national spy and a U.S. Representative

who has publicly admitted being contacted by the FBI is improper, and the public interest in

disclosure of the existence of records is high. The ACLJ does not seek the types of records the

FBI improperly construed the whole of the ACLJ’s requests to seek, i.e., properly classified

records, records legitimately protected by the National Security Act, personnel or medical records,

records compiled for law enforcement purposes, or records of law enforcement investigative

techniques and procedures. And the ACLJ’s FOIA requests clearly go far beyond those categories.

Other agencies did not respond with the lazy, sloppy FBI-style Glomar response to essentially

identical FOIA requests – including the ODNI, the head of the U.S. Intelligence Community. The

FBI’s Glomar response, along with its refusal to timely decide the ACLJ’s administrative appeal,

and its interpretation of the ACLJ’s FOIA requests, all show the FBI’s evaluation of the ACLJ’s



7
 “‘When I use a word,’ Humpty Dumpty said in rather a scornful tone, ‘it means just what I
choose it to mean — neither more nor less.’ ‘The question is,’ said Alice, ‘whether you can make
words mean so many different things.’ ‘The question is,’ said Humpty Dumpty, ‘which is to be
master — that’s all.” Lewis Carroll, Through the Looking Glass (London, Macmillan & Co.
1872).

                                                 14
       Case 1:21-cv-00932-CKK Document 20-1 Filed 10/19/21 Page 19 of 19




FOIA requests was made in bad faith. The ACLJ urges this Court to reject the FBI’s Glomar

response and order it to proceed in the normal course as required by the FOIA.



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                                               15
